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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS


 CHEMETCO SITE PRP GROUP,                               )
                                                        )
                 Plaintiff,                             )
                                                        )
          v.                                            )    Civil Action No. 18-179-SMY-SCW
                                                        )
 A SQUARE SYSTEMS, INC., et al.,                        )
                                                        )
                 Defendants.                            )

                        NOTICE OF VOLUNTARY DISMISSAL OF
                    DEFENDANT ABLE ALLOY, INC. WITH PREJUDICE

          Plaintiff Chemetco Site PRP Group, through counsel and pursuant to Federal Rule of

 Civil Procedure 41(a)(1)(A)(i), voluntarily dismisses Defendant Able Alloy, Inc. from this cause

 with prejudice. Able Alloy, Inc. has not filed an answer or motion for summary judgment in this

 cause.

 Dated:     March 30, 2018                    Respectfully submitted,

                                              THE JUSTIS LAW FIRM LLC


                                              /s/ Gary D. Justis
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                                              ATTORNEYS FOR PLAINTIFF CHEMETCO
                                              SITE PRP GROUP
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 30, 2018, a copy of the foregoing Notice of Voluntary

 Dismissal of Defendant Able Alloy, Inc. with Prejudice was filed electronically. Notice of this

 filing will be sent to all parties by operation of the Court’s electronic filing system. Parties may

 access the filing through the Court’s Electronic Case Filing System.

                                                /s/ Gary D. Justis
                                                Gary D. Justis




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